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MOR-1: SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

                                                                                                                  Alto Maipo
    Description                                                                        Alto Maipo SpA            Delaware LLC          Total

    Receipts
     Receipts                                                                         $         1,288,731    $                -    $    1,288,731
     DIP Proceeds                                                                                       -             4,464,000         4,464,000
     Funds transferred between Debtors (1)                                                      2,500,000                     -         2,500,000
     Other Receipts                                                                                     -                     -                 -
    Total Receipts                                                                              3,788,731             4,464,000         8,252,731

    Disbursements
     Services                                                                                  (1,218,292)             (108,734)        (1,327,026)
     Suppliers or vendors                                                                        (942,358)                    -           (942,358)
     Payroll                                                                                   (1,102,602)                    -         (1,102,602)
     Rent and Usage Rights                                                                        (50,289)                    -            (50,289)
     Benefits                                                                                     (23,129)                    -            (23,129)
     Financial / Bank Fees                                                                       (115,255)               (6,939)          (122,194)
     Taxes / Governmental                                                                        (858,513)                    -           (858,513)
     Restructuring                                                                               (206,591)           (1,301,472)        (1,508,063)
     Funds transferred between Debtors (1)                                                              -            (2,500,000)        (2,500,000)
    Total Disbursements                                                                        (4,517,029)           (3,917,144)        (8,434,173)

    Net Cash Flow (incl. Funds transferred between Debtors )                                     (728,297)             546,856           (181,442)

    Cash Balance Beginning of Month                                                             2,451,569             8,507,793        10,959,361
     Net Cash Flow                                                                               (728,297)              546,856          (181,442)
     Cash Balance End of Month                                                        $         1,723,271 $           9,054,648    $   10,777,920

    Notes:
    1. Funds transferred between Debtors have been excluded from Part 1: Cash Receipts and Disbursements
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MOR-2: STATEMENT OF OPERATIONS


                                                                Alto Maipo
                                           Alto Maipo SpA      Delaware LLC       Total
   Total Revenues                                 8,769,071                 -       8,769,071
   Cost of Sales                                 (1,848,606)                -      (1,848,606)
   Gross Profit                                   6,920,464                 -       6,920,464
   Administrative Expenses                          153,605                 -         153,605
   Other Income (Loss)                           (6,744,114)       (1,842,401)     (8,586,515)
   Finance Income                                        56             2,188           2,243
   Finance Expense                                  (44,333)          (37,954)        (82,286)
   Foreign Currency Exchange Differences            705,572                 -         705,572
    Gain (Loss) before Taxes                        991,250        (1,878,167)       (886,917)
   Income Tax Benefit/Expense                       623,116          (781,104)       (157,988)
   Income (Loss) for the period                   1,614,366        (2,659,271)     (1,044,905)
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MOR-3: BALANCE SHEET

                                                                                 Alto Maipo
                            ASSETS
                                                         Alto Maipo SpA         Delaware LLC        Total

 CURRENT ASSETS
  Cash and Cash Equivalents                                       1,723,271           9,054,648       10,777,920
  Trade and Other Receivables                                   173,049,603                   -      173,049,603
  Related Party Receivables                                         337,881           2,502,188        2,840,068
  Total Current Assets                                          175,110,755          11,556,836      186,667,591



 NON-CURRENT ASSETS
  Trade and Other Receivables                                     44,897,857                   -      44,897,857
  Other Non-Current Non-Financial Assets                          11,009,227                   -      11,009,227
  Investments in Equity Affiliates                                (4,771,147)                  -      (4,771,147)
  Intangible Assets                                               21,713,891                   -      21,713,891
  Property, Plant and Equipment                                2,076,608,636                   -   2,076,608,636
  Deferred Tax Assets                                            423,927,027                         423,927,027
  Total Non-Current Assets                                     2,573,385,491                  -    2,573,385,491
  TOTAL ASSETS                                                 2,748,496,247         11,556,836    2,760,053,082
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MOR-3: BALANCE SHEET


                                                                                  Alto Maipo
                   LIABILITIES AND EQUITY
                                                          Alto Maipo SpA         Delaware LLC        Total

 CURRENT LIABILITIES
  Other Current Financial Liabilities                                      -                   -               -
  Trade and Other Payables                                        44,797,816           1,747,629      46,545,445
  Related Party Payables                                          25,480,717          14,580,398      40,061,114
  Employee Benefits                                                  134,413                   -         134,413
  Other Current Non-Financial Liabilities                          1,084,949                   -       1,084,949
  Income Tax Payables                                                 30,523                   -          30,523
  Total Current Liabilities                                       71,528,417          16,328,027      87,856,444

 NON-CURRENT LIABILITIES
  Other Non-Current Financial Liabilities                       3,117,672,826                  -    3,117,672,826
  Trade and Other Payables                                          7,120,238                  -        7,120,238
  Employee Benefits                                                 1,088,274                  -        1,088,274
  Other Long Term Liabilities                                         119,538                  -          119,538
  Total Non-Current Liabilities                                 3,126,000,876                  -    3,126,000,876
   TOTAL LIABILITIES                                            3,197,529,293         16,328,027    3,213,857,320

  EQUITY
  Issued Capital                                                  548,563,853                  -      548,563,853
  Accumulated Losses                                             (874,523,687)        (4,771,191)    (879,294,878)
  Other Reserves                                                 (123,073,212)                 -     (123,073,212)
  Total Equity                                                   (449,033,046)        (4,771,191)    (453,804,237)
  TOTAL EQUITY AND LIABILITIES                                  2,748,496,247         11,556,836    2,760,053,082
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LISTING OF BANK ACCOUNTS


    Account Holder                         Bank name                              Account number -   Acconut Currency   CLP Balance as of       USD Balance as of    Opened or Closed
                                                                                  last four               Type             3/31/2022               3/31/2022          During Period
                                           Active Accounts
    Alto Maipo SpA                         Itau Corpanca Branch Santiago, Chile         x6379              CLP                703,604,339       $          892,922         No
    Alto Maipo SpA                         Itau Corpanca Branch Santiago, Chile         x1632              CLP                257,845,226                  327,223         No
    Alto Maipo SpA                         Itau Corpanca Branch Santiago, Chile         x6303              USD                          -                  496,246         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0454              USD                          -                      104         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0423              USD                          -                      458         No
    Alto Maipo Delaware LLC                M&T Bank                                     x2571              USD                          -                8,241,614         No
    Alto Maipo Delaware LLC                M&T Bank                                     x2423              USD                          -                  813,035         No
    Alto Maipo SpA                         Petty Cash                                    n/a               CLP                  4,979,001                    6,319         No
                                           Inactive Accounts with Zero Balances
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0339              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0347              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0355              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0363              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0381              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0389              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0397              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0405              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0430              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0438              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpbanca Branch NY                     x0446              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpanca Branch Santiago, Chile         x6798              USD                              -                    -         No
    Alto Maipo SpA                         Itau Corpanca Branch Santiago, Chile         x2842              CLP                              -                    -         No
    Alto Maipo SpA                         Itau Corpanca Branch Santiago, Chile         x1662              CLP                              -                    -         No
    Alto Maipo SpA                         Itau Corpanca Branch Santiago, Chile         x6313              USD                              -                    -         No
    Alto Maipo SpA                         Banco de Chile                               x0909              CLP                              -                    -         No
    Alto Maipo SpA                         Banco de Chile                               x0903              USD                              -                    -         No
                                                                                                                  Total USD Balance:            $       10,777,920

    Chilean Pesos (CLP), USD conversion on 3/31/2022 @ 787.98 CLP/USD
